                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DISTRICT


UNITED STATES OF AMERICA,                            )
                                                     )
                       Plaintiff,                    )
                                                     )       No. 4:19-CR-00562-CDP
                               v.                    )
                                                     )
EDDIE EARL JOHNSON, III,                             )
                                                     )
                       Defendant.                    )

                   MOTION FOR DISMISSAL WITHOUT PREJUDICE

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United States of

America, via the United States Attorney for the Eastern District of Missouri, moves to dismiss the

one-count indictment filed against the above-named defendant without prejudice. The Defendant

consents to this dismissal and has agreed to enter a pretrial diversion program.



                                                     Respectfully Submitted,

                                                     JEFFREY B. JENSEN
                                                     United States Attorney

                                                     /s/ Jason S. Dunkel
                                                     JASON DUNKEL, #65886(MO)
                                                     Assistant United States Attorney
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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 31, 2020, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon: All
Counsel of Record.

                                                     /s/ Jason S. Dunkel                .
                                                     Jason S. Dunkel #65886(MO)
                                                     Assistant United States Attorney
